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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Keith Snyder, et al.
                                    Plaintiff,
v.                                                    Case No.: 1:14−cv−08461
                                                      Honorable Matthew F. Kennelly
Ocwen Loan Servicing LLC
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 28, 2018:


        MINUTE entry before the Honorable Matthew F. Kennelly: Having considered
plaintiffs' motion for appointment of interim lead class counsel and the factors set forth in
Federal Rule of Civil Procedure 23(g)(1), the Court hereby appoints Burke Law Offices,
LLC and Terrell Marshall Law Group PLLC as interim lead class counsel for plaintiffs'
proposed Rule 23(b)(2) and Rule 23(b)(3) classes. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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